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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                      UNITED STATES BANKRUPTCY COURT                     October 31, 2017
                         SOUTHERN DISTRICT OF TEXAS                     David J. Bradley, Clerk
                              HOUSTON DIVISION                                     ENTERED
                                                                                   10/26/2017
IN RE:                                    §
TONY HARRISON, et al                      §      CASE NO: 17-34836
       Debtor(s)                          §
                                          §      CHAPTER 13
                                          §
TONY HARRISON                             §
     Plaintiff(s)                         §
                                          §
VS.                                       §      ADVERSARY NO. 16-03262
                                          §
VILLAS AT NORTHPARK PROPERTY              §
OWNERS ASSOCIATION, INC.                  §
      Defendant(s)                        §

 REPORT AND RECOMMENDATION TOTHE DISTRICT COURT FOR
              WITHDRAWAL OF REFERENCE

      This Court RECOMMENDS that the reference be withdrawn in this
adversary proceeding in view of the jury demand made by both parties. The parties
do not consent to a jury trial in the Bankruptcy Court.



      SIGNED 10/26/2017.


                                         ___________________________________
                                         Karen K. Brown
                                         United States Bankruptcy Judge




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